                                                                  Honorable Marc Barreca
                                                                  United States Bankruptcy Judge
 2                          UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF WASHINGTON AT MARYSVILLE
 3

                                                     )    Bankruptcy No. 12-11284-MLB
 4   In re:                                          )
                                                     )    Chapter 7
 5   Demetrius Bertrand Dickerson, Sr.,              )
                                                     )    NOTICE OF WITHDRAWAL AND
 6                  Debtor.                          )    SUBSTITUITON OF COUNSEL
 7   _______________                                 )
                                                     ).




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     TO: CLERK OF THE COURT
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     PLEASE TAKE NOTICE that Andrew Gebelt of the Law Office of Andrew Gebelt
10
     withdraws as counsel and that Christina Henry of Henry & DeGraff, PS is hereby substituted as
11
     counsel for Debtor. Demetrius Bertrand Dickerson, Si:.
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     You are requested to serve all further pleadings, other than process, at the following address:
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14
     Henry & DeGraff, PS, 150 Nickerson St., Suite 311., Seattle, WA 98109.

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     Dated June 25. 2018
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17   Withdrawing Attorney:                                        Substituting Attorney:




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      ~~It'-
     Afldrew Gebelt             ·                                     Christina Henry
     WSBA#32235                                                       WSBA#31273
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                                                                        HENRY & DEGRAFF, PS
     WITHDRAWAL AND SUBSTITUTION- 1                                     150 NICKERSON ST., SUITE 311
25
                                                                       SEATI'LE, WASIIINGTON 98109
                                                                            telephone (206)-330-0595
                                                                              fax 1 (206) 400-7609




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